Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 1 of 25

\ M UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

G

Jobe Eprigue, Nunez = ‘TL.

 

 

(in the space above enter the fill name(s) of the plaintiff(s)) ] Q 0 a () 8

 

 

 

 

 

- against -
Ta Nownys COMPLAINT

Sa hay Swarr tly under the

i Civil Rights Act, 42 U.S.C. § 1983
Me sy / Aopdr'n (Prisoner Complaint)
len Rectan, ivan

‘ P 7 ; Jury Trial: Yes O No
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Texphelind , lnc.
Andrew Wetey ECEIVE

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JAN 28 2019

  

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part [, Addresses should not be included here.)

I. Parties in this complaint:

A, List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
as necessary.

Plaintiff Name José Enotyue Munt2 TL.

ID # 2616: 9705
Current Institution Beeks Co iaty Tall Su. Stearn
Address [387 Coun by Gieifare Road | eespory , RA 19534

 

Rev. 10/2009
B.

may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption. Attach additional sheets of paper as necessary.
Defendant No. 1 Name _ wary ‘ Wwe ‘ igley

Defendant No. 2

Defendant No. 3

Defendant No. 4

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List all defendants’ names, positions, places of employment, and the address where each defendant

 

 

Where Currently Employed _(Qusles Louth, Jull System

Address jj\@ 7 County Welfare Rd
Lees port, PA 14533

Name Andrew f Ve Hy ei

Shield #

Shield #

Where Currently Employed _penjey County Jul System

Address [dy 7] County (felkare Rd
Leespoph, PA (4S3%

Name _Pund Kipe

 

 

 

 

 

 

 

 

Shield #
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Address (027 YY nAhY Wellare ol

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Name_Texthenind , ( his Shield #
Where Current dy Employed _] Text chind , i aces
Address I? O De 2Y 7
7
Phoenix MP 2tl
Shield #

Defendant No. 5 Name Mat Hew (oe UL, bs4

Il.

 

Where Currently Employed The | “Aé M Ain

La x orvug EWG

Address 44 5 WY, Madr ket She Pimfe Avy

ue st hesbet, PA (78972

Statement of Claim:

————————

State as briefly as possible the facts of your case. Describe how each of the defendants named in the

caption of this complaint is involved in this action, along with the dates and locations of all relevant events.

You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.

In what institution did the events giving rise to your claim(s) occur?

System @ OF] Counky Welfare Rd, Leesport , PA (4533

B.

Where in the institution did the events giving rise to your claim(s) occur?

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dail

 

 

C,

What date and approximate time did the events giving rise to your claim(s) occur?

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| Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 3 of 25
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III. Injuries:

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aS, pata anid, TSI

If you sustained injuries related to the events alleged above, describ ie on state what Pall’ cal
treatment, if any, you required and received. € sh eck”

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IV. Exhaustion of Administrative Remedies:

The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “ [n]o action shall be
brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 6 of 25

prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.” Administrative remedies are also known as grievance procedures.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes % No

If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

 

[Berks Coby Sail Syytenn VAS) Canty UlelGare Ro. Lees gory PA IVS &

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes 7\No___ Do Not Know

Cc. Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
arose cover some or all of your claim(s)?

% f
Yes x No Do Not Know

If YES, which claim(s)?

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?
Yes ae No

If NO, did you file a grievance about the events described in this complaint at any other jail,
prison, or other correctional facility?

E. If you did file a grievance, about the events described in this complaint, where did you file the

grievance? a

Rec! = Coowty \o \ Sveke _

1. Which claim(s) in this complaint did you grieve? j \ \_ Cua be ot guy
Poe S— SCNon I —
co

2. What was the result, if any? Kk) OnIE

 

3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
the highest level of the grievance process. __- y pe \eol +5 : rhe \yishvo 6v

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VI. Previous lawsuits:
A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
On
these
claims Yes No t—
B. If your answer to A is YES, describe each lawsuit by answering questions | through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
the same format. )

1. Parties to the previous lawsuit:

Plaintiff
Defendants

 

 

2, Court (if federal court, name the district; if state court, name the county)

3. Docket or Index number

 

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On
other
claims

 

 

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4, Name of Judge assigned to your case
a Approximate date of filing lawsuit
6. Is the case still pending? Yes No

If NO, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?)

 

 

 

Have you filed other lawsuits in state or federal court?

Yess, No

If your answer to C is YES, describe each lawsuit by answering questions I through 7 below. (If
there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same format.)

1.

Parties to the previous lawsuit:

Plaintitr €22) Nose Prot. - \\e. Tr
Defendants C/ 5 Hees Xe

2.

3.

Signed this \ ) day of

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Court (if federal court, name the district; if state court, name the county) L GSte, y\ ist hi¢ 0) f Vi
Docket or Index number IZ = OY 493

Name of Judge assigned to your case Geoold A _M Mugla

Approximate date of filing lawsuit MA

Is the case still pending? Yes _\“No

 

If NO, give the approximate date of disposition

What was the result of the case? (For example: Was the case dismissed? Was there
judgment in your favor? Was the case appealed?) Ck { L acxive

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Jonvacc i 20 | 4.
«J

Signature of Plaintiff_=—J—S-—___)

Inmate Number ee >| 6-2 7S
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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 10 of 25

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 11 of ae 2.

(Ss A ee at oo
JEN STILVE

a/ OSE i iO

Inmate Name

BERKS COUNTY JAIL SYSTEM
a INMATE GRIEVANCE FORM

BCP# Jojb 9105 Cell \:

Date (a! (7/22

Instructions: Refer to the inmate handbook for information on the inmate grievance system.

 

L] Does not fit criteria for an emergency/sensitive grievance

L| Lacks details

 

Administration Use Only

L] Form is incomplete

L] Resubmit on proper form

 

L] Must be completed in English

 

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)

 

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Grievance Response: _» \ \ | ae
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Grievance Answered By: ¢ Zé a ban) Date CAh ye fey
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Grievance # Vf CD Date Posted_ i’ WM

Original: Treatment File Canary: Return to inmate with response

/

FORM# RECI20 (REV 2/10)
Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 12 of 25

 

 

| | BERKS COUNTY JAIL SYSTEM Roe *
INMATE GRIEVANCE FORM
Inmate Name_ osc unt BCP# 207070 4 Cell
Date _1ali7li¥
Instructions: Refer to the inmate handbook for information on the inmate grievance system. .

 

Administration Use Only

[] Does not fit criteria for an emergency/sensitive grievance

L] Lacks details

 

L] Form is incomplete

L] Must be completed in English

L] Resubmit on proper form

 

 

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)

 

 

 

 

 

 

 

 

 

 

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Grievance Response: < A 3 —— a x
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Grievance Answered By: Cafe ek

 

 

Date Posted

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FORM# REC120° (REV 2/10)

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TextBehind

Connecting Relationships

01, 14

2019

EFFECTIVE DATE

NEW INMATE MAIL POLICY

This correctional facility has a new lnm iL Management Provider called
TextBehind®, Going forward, this facility willaccept i inmate m mal that has been
processed by TextBehind® only. Educational brochures have been placed
inside the family visiting rooms to inform your loved ones about the new
inmate mail process.

Please advise your family and friends to go to www. TextBehind.com to learn
more and download free mobile app to their smartphone for convenience.

Per effective date above, your family and friends can now send text messages
with photos, greeting cards and drawings from your kids using a smartphone
or computer. You will receive all family and friends’ correspondence in print
form as shown, 5
TextBehind® Mail will be processed and shipped daily Monday - Friday.

A service fee of 50 cents applies to each incoming mailing f from your family
and friends which includes up to 4 photos. __

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For faster communication with TextBehind? electronic service, you will be able
to stay connected to your family and friends in a more convenient and
consistent manner.

 

f your family and friends choose NOT to use the TextBehind? electronic service,

then all family and friends hand-written letters must first be sent to
following TextBehind® mailing ad address to be photo co} copten before being
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Correctional Facility Name
P. O. Box 247
Phoenix, MD 21131

%&
Inmate Name and Inmate Number }

Please No

Handwritten mail from your family ds will delay your receipt of your
mail, as s the mail will take time to be received and processed accorc ingly.

Any mail sent directly to the physical address of this correctional facility will not

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TXB-BCPPA2019_004

 

 

 

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Drawings from your Children

Greeting Cards

 

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 16 of 25

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BERKS COUNTY Re ees
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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 17 of 25
BERKS COUNTY JAIL SYSTEM
INMATE GRIEVANCE FORM

Inmate Name dese Wine BCP# 210-75 Cell \> 102

Datei?./32/ /
Instructions: Refer to the inmate handbook for information on the inmate grievance system.

 

Administration Use Only

[1 Does not fit criteria for an emergency/sensitive grievance L] Form is incomplete L] Resubmit on proper form

 

L) Lacks details [] Must be completed in English

 

 

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)

 

 

 

 

 

 

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Original: Treatment File Canary: Return to inmate with response FORM# RECI20° (REV 2/10)

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 18 of 25
BERKS COUNTY JAIL SYSTEM
INMATE GRIEVANCE FORM

 

 

 

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Date _!// a/!
Instructions: Refer to the inmate handbook for information on the inmate grievance system.
Administration Use Only
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L] Lacks details [] Must be completed in English

 

 

 

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)

 

 

 

 

 

 

 

 

 

 

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FOR AMINISTRATIVE USE ONLY

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Grievance Answered By: 47, Z of LF Le Date Yls4

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Original: Treatment File Canary: Return to inmate with response FORM# RECI20. (REV 2/10)

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 19 of 25

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JENOTT LV E INMATE COMMUNICATION FORM OE NOLT IVE

BCU #:4 b)6- 0705

 

Inmate Name: j-ce EF. plugez Unit/Cell #: [5 -\yo Date: \4\\-1 | aie
TO: (Select only one of the following; selecting more than ONE box will result in your communication being filed unanswered.)
[_] Booking/Mail/Property [_] Custody [_] Inmate Accounts [_] Medical [_] Treatment
_] Chapel [_] Deputy Warden [| Inmate Telephones [_] PREA Warden
(_] Commissary [_] Education [_] Kitchen [_] Security/Intel [_] Other

Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
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BCJS 501U-10/2018 Original — Treatment File Canary — Return to inmate with response
Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 20 of 25

Berks County Jail System

 

Memo

To: Inmate Jose Nunez, BCJS #2016-0705 xwr

\
From: Janine L. Quigley, CUM, Warden AS
cc: Senior Staff, Captain, Legal File, Author's File
Date: December 17, 2018
Re: Request for Production of Documents

 

| have received a letter addressed to you and dated December 7, 2018 from the Clerk of
Court's Office, along with a copy of your hand-written “Request for the Production of
Documents”. | have been told that you handed both of these documents to an officer on
December 12, 2018 claiming to have received them, via postal service mail, in the same
envelope as your personal response from the Clerk of Court's Office. You believed these
copies were meant for me and, upon receipt, | did notice that my name has a check mark
beside it in the carbon copy section of the letter.

However, upon review of these documents, | recognized that you did not use the proper
procedures for requesting information as outlined in Section 10.1 of the Inmate Handbook —
Inmate Communication. Please use the inmate communication system as outlined to
communicate with staff. As a side note, your document is overly broad, so please be specific
with the details of any request that you submit.

JLQ/tar

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GARE R 19: CV: 00408-GAM Document 2 Filed 01/28/19 Page 21 of 25
ee one BERKS COUNTY JAIL SYSTEM

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Inmate Name ojo Nuoe2 BCP# Z0\u- 9 702 Cell_p-joa
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Instructions: Refer to the inmate handbook for information on the inmate grievance system.
Administration Use Only
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L] Lacks details [] Must be completed in English

 

 

 

Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)

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Original: Treatment File Canary: Return to inmate with response se

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Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 22 of 25

BERKS COUNTY JAIL SYSTEM
INMATE COMMUNICATION FORM

BCJ #:2:0/6 0708
Inmate Name: yice jac Unit/Cell #: >” Date: j/4/\4

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TO: (Select only one of the following; selecting more than ONE box will result in your communication being filed unanswered.)

[| Booking/Mail/Property [_] Custody [_] Inmate Accounts [_] Medical [_] Treatment
[_] Chapel [_] Deputy Warden [] Inmate Telephones [_] PREA [_] Warden
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Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
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BCJS 501U-10/2018 Original — Treatment File Canary — Return to inmate with response
Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 23 of 25

BERKS COUNTY JAIL SYSTEM
INMATE COMMUNICATION FORM

BCJ #: AO} fo yp aos

 

Inmate Name: jo. 6. dunez Unit/Cell #: » -jo.2. Date: a | 2G
TO: (Select only one of the following; selecting more than ONE box will result in your communication being filed unanswered.)
[_] Booking/Mail/Property [_] Custody [_] Inmate Accounts L_] Medical [_] Treatment
L_] Chapel [-] Deputy Warden [] Inmate Telephones [_] PREA Warden
[_] Commissary [_] Education _] Kitchen [_] Security/Intel [_] Other

Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
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BCJS 501U-10/2018 Original — Treatment File Canary — Return to inmate with response
Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 24 of 25

BERKS COUNTY JAIL SYSTEM
INMATE COMMUNICATION FORM

BCJ #:J016-O7 05

 

Inmate Name: so Ninoxe Unit/Cell #: - (02 Date: || W\a0\4
TO: (Select only one of the following; selecting more than ONE box will result in your communication being filed unanswered.)
_] Booking/Mail/Property [_] Custody [_] Inmate Accounts L_] Medical [_] Treatment
_] Chapel [_] Deputy Warden [_] Inmate Telephones [_] PREA [_] Warden
[_] Commissary [_] Education [_] Kitchen [_] Security/Intel [_] Other

Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
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Note: Writing in “response” section will result in form Inmate Signature: ©«) o™
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BCJS 501U-10/2018 Original — Treatment File Canary — Return to inmate with response
Case 5:19-cv-00408-GAM Document 2 Filed 01/28/19 Page 25 of 25

The MacMain
Law Group LLC

433 W. Market Street * Suite 200 * West Chester, PA 19382 * www.macmainlaw.com

 

Matthew J. Connell

Telephone: (484) 318-7803
Facsimile: (484) 328-3996

Email: mconnell@macmainlaw.com

January 2, 2019

Via First Class Mail

Jose Enrique Nunez, II]
Inmate ID No, 2016-0705
Berks County Jail System
1287 County Welfare Road
Leesport, PA 19533

RE: Nunez v. CO Heere
Docket No. 18-04493

Dear Mr. Nunez:

My client has forwarded to me a document from you entitled Request for
Production of Documents, purportedly under your criminal matter number 2369-18. As
you should be aware, you pled guilty on September 5, 2018 to the charge of aggravated
harassment by a prisoner on that case. As such, your "Request for Production of
Documents" is moot. Should you disagree, I suggest you discuss that with your criminal
defense attorney. Otherwise, to the extent that you are seeking information on the lawsuit
you filed against my clients, I remind you of your obligations under the Federal Rules of
Civil Procedure to direct all communications to my attention. To that end, I have directed
my client not to respond to any request for documents that you have requested from the
jail. Rather, the request will be forwarded to me and ignored, unless served properly
under the Rules of Civil Procedure.

Kindly contact me should you have any questions regarding this matter.

Very truly yours,

Matthew J. Connell
MJC/jfb
